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                                 UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                        ORLANDO DIVISION



      EQUAL EMPLOYMENT OPPORTUNITY
      COMMISSION

                    Plaintiff,

       V.                                                Case No. 6:19-cv-01689-PGH-LHR


      AZUL WELLNESS,LLC,

                      Defendant.
                                                             /



                                         CONSENT DECREE


             The Consent Decree("Decree")is made and entered into by and between Plaintiff U.S.

      Equal Employment Opportunity Commission("EEOC")and Defendant Azul Wellness, LLC

      d/b/a/ Orlando Float("Orlando Float").

                                          INTRODUCTION


             1.     The EEOC filed this action under Title VII of the Civil Rights Act of 1964, as

      amended, 42 U.S.C. §2000e et seq.("Title VII"), and Title I of the Civil Rights Act of 1991,

      42 U.S.C. §1981a,to correct unlawful employment practices on the basis ofsex and to provide

      appropriate reliefto Alliana A. Stevens.

             2.     The EEOC alleged that Orlando Float violated Title VII ofthe Civil Rights Act

      of 1964 and Title I ofthe Civil Rights Act of 1991, by terminating Alliana A. Stevens based

      on her sex, female, and pregnancy. EEOC further alleged that the unlawful employment
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                                Digitally signed by Robert E. Weisberg

           Robert E. Weisberg   DN: cn=Robert E. Weisberg, o=EEOC, ou=Miami District
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